  Case 24-02056-GLT          Doc 1-2 Filed 08/29/24 Entered 08/29/24 19:02:10              Desc
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                                           “EXHIBIT B__”

  LISTING OF TIME SPENT AND SERVICES RENDERED ON BEHALF OF THE DEBTOR

Hourly Rate for Attorneys and Paralegals

KS              Ken Steidl, Partner                      $350.00/hour
JFS             Julie Frazee Steidl, Partner             $350.00/hour
CMF             Christopher M. Frye, Partner             $300.00/hour
LML             Lauren M. Lamb, Partner                  $250.00/hour
AES             Abagale Steidl, Associate                $250.00/hour
P               Paralegal                                $150.00/hour

Description of Service                                           Date         Time Spent   Rate
Phone meeting with Client’s POA Melanie Sandrock to discuss      02.05.2024   .5           P
sale of property
Phone call with Buyer’s Attorney James Haines to discuss         06.12.2024   .2           P
Sales agreement
Internal discussions re sale, process, and procedure             08.28.2024   0.4          CMF
Review of claims and liens                                       08.29.2024   0.5          CMF
Preparation of Complaint to Sell Property                        08.29.2024   2.1          CMF
Filing of the Adversary Complaint and Creation of Adversary      08.29.2024   0.4          P
         Proceeding

CONTEMPLATED SERVICES THAT WILL OCCUR AFTER THE DATE OF FILING FOR THE
                         COMPLAINT TO SELL

Description of Service                                            Date        Time Spent   Rate
Review of the Court Issued Summons                                {      }    0.2          CMF
Service of the Court Issued Summons and the Motion to Sell        {      }    0.5          P
Preparation of the Certificate of Summons Service Executed        {      }    0.3          P
Filing of the Certificate of Summons Service Executed             {      }    0.3          P
Contact Newspaper Re: Advertising                                 {      }    0.1          P
Contact Pittsburgh Post-Gazette Re: Advertising                   {      }    0.1          P
Uploaded Sale Information to EASI Website                         {      }    0.1          P
Filing of Proof of Publication #1                                 {      }    0.1          P
Filing of Proof of Publication #2                                 {      }    0.1          P
Preparation of Hearing Re: Motion to Sell                         {      }    0.5          CMF
Attendance at Hearing Re: Motion to Sell                          {      }    0.5          CMF
Preparation of the CoC Re: Completed Order                        {      }    0.1          P
Review of the Order Granting Sale                                 {      }    0.1          CMF
Service of the Order Granting Sale                                {      }    0.3          P
Preparation of the Certificate of Service Re: Order Granting Sale {      }    0.3          P
Filing of the Certificate of Service Re: Order Granting Sale      {      }    0.3          P
Preparation of the Report of Sale                                 {      }    0.3          CMF
Filing of the Report of Sale                                      {      }    0.3          P
Service of the Report of Sale                                     {      }    0.3          P

Total Time Spent:                       8.9 Hours

Hours by Attorney/Rate
KS             $350.00/hour x 4.0 hours=        $ 0.00
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JFS        $350.00/hour x 1.0 hours=   $ 0.00
CMF        $300.00/hour x 4.6 hours=   $ 1,380.00
LML        $300.00/hour x 0.0 hours=   $ 0.00
AES        $250.00/hour x 0.0 hours=   $ 0.00
P          $150.00/hour x 4.3 hours=   $ 645.00

TOTAL FEES REQUESTED: $2,025.00
